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 6
 7
                              UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
     KENNETH DAVIDSON,
11              Plaintiff,                     COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12        vs.                                  OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
     ANTRANIX G. KASSABIAN, AS                 2. CALIFORNIA’S UNRUH CIVIL
15   TRUSTEE OF THE KASSABIAN                  RIGHTS ACT;
16   FAMILY TRUST; and DOES 1 to 10,           3. CALIFORNIA’S DISABLED
                Defendants.                    PERSONS ACT;
17
                                               4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22
          Plaintiff KENNETH DAVIDSON (“Plaintiff”) complains of Defendants
23
     ANTRANIX G. KASSABIAN, AS TRUSTEE OF THE KASSABIAN FAMILY
24
     TRUST; and DOES 1 to 10 (“Defendants”) and alleges as follows:
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 1                                             PARTIES
 2           1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   diagnosed with paraplegia secondary to MVA damaging T7 and is substantially limited in
 4   his ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling
 5   in public.
 6           2.   Defendants are, or were at the time of the incident, the real property owners,
 7   business operators, lessors and/or lessees of the real property for LITTLE CAESARS
 8   PIZZA (“Business”) located at or about 109 N. Brookhurst St., Anaheim, California.
 9           3.   The true names and capacities, whether individual, corporate, associate or
10   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12   Court to amend this Complaint when the true names and capacities have been
13   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14   fictitiously named Defendants are responsible in some manner, and therefore, liable to
15   Plaintiff for the acts herein alleged.
16           4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19   the things alleged herein was acting with the knowledge and consent of the other
20   Defendants and within the course and scope of such agency or employment relationship.
21           5.   Whenever and wherever reference is made in this Complaint to any act or
22   failure to act by a defendant or Defendants, such allegations and references shall also be
23   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24   and severally.
25                                 JURISDICTION AND VENUE
26           6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28   seq.)



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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 7   reside in this district, Los Angeles County, California.
 8                                 FACTUAL ALLEGATIONS
 9         10.    On or about March 12, 2020, Plaintiff went to the Business. On or about
10   April 13, 2020, Plaintiff went to the Business again.
11         11.    The Business is a restaurant store business establishment, which is open to
12   the public, is a place of public accommodation and affects commerce through its
13   operation.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.    Defendants failed to comply with the federal and state standards for
20                      the parking space designated for persons with disabilities. Defendants
21                      failed to provide the parking space identification sign with the
22                      International Symbol of Accessibility.
23                b.    Defendants failed to comply with the federal and state standards for
24                      the parking space designated for persons with disabilities. Defendants
25                      failed to post required signage such as “Minimum Fine $250” or “Van
26                      Access.”
27                c.    Defendant failed to maintain the parking space designated for persons
28                      with disabilities to comply with the federal and state standards.



                                           COMPLAINT - 3
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 1                       Defendants failed to provide the access aisles with level surface
 2                       slopes.
 3         14.    These barriers and conditions denied Plaintiff the full and equal access to the
 4   Business and caused him difficulty and frustration. The Business is conveniently located.
 5   Plaintiff wishes to return and patronize the Business, however, Plaintiff is deterred from
 6   visiting the Business because his knowledge of these violations prevents him from
 7   returning until the barriers are removed.
 8         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 9   there are additional barriers to accessibility at the Business after further site inspection.
10   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
11   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
12         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
13   knew that particular barriers render the Business inaccessible, violate state and federal
14   law, and interfere with access for the physically disabled.
15         17.    At all relevant times, Defendants had and still have control and dominion
16   over the conditions at this location and had and still have the financial resources to
17   remove these barriers without much difficulty or expenses to make the Business
18   accessible to the physically disabled in compliance with ADDAG and Title 24
19   regulations. Defendants have not removed such barriers and have not modified the
20   Business to conform to accessibility regulations.
21                                   FIRST CAUSE OF ACTION
22       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
23         18.    Plaintiff incorporates by reference each of the allegations in all prior
24   paragraphs in this complaint.
25         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
26   shall be discriminated against on the basis of disability in the full and equal enjoyment of
27   the goods, services, facilities, privileges, advantages, or accommodations of any place of
28




                                            COMPLAINT - 4
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 1   public accommodation by any person who owns, leases, or leases to, or operates a place
 2   of public accommodation. See 42 U.S.C. § 12182(a).
 3         20.   Discrimination, inter alia, includes:
 4               a.    A failure to make reasonable modification in policies, practices, or
 5                     procedures, when such modifications are necessary to afford such
 6                     goods, services, facilities, privileges, advantages, or accommodations
 7                     to individuals with disabilities, unless the entity can demonstrate that
 8                     making such modifications would fundamentally alter the nature of
 9                     such goods, services, facilities, privileges, advantages, or
10                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11               b.    A failure to take such steps as may be necessary to ensure that no
12                     individual with a disability is excluded, denied services, segregated or
13                     otherwise treated differently than other individuals because of the
14                     absence of auxiliary aids and services, unless the entity can
15                     demonstrate that taking such steps would fundamentally alter the
16                     nature of the good, service, facility, privilege, advantage, or
17                     accommodation being offered or would result in an undue burden. 42
18                     U.S.C. § 12182(b)(2)(A)(iii).
19               c.    A failure to remove architectural barriers, and communication barriers
20                     that are structural in nature, in existing facilities, and transportation
21                     barriers in existing vehicles and rail passenger cars used by an
22                     establishment for transporting individuals (not including barriers that
23                     can only be removed through the retrofitting of vehicles or rail
24                     passenger cars by the installation of a hydraulic or other lift), where
25                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26               d.    A failure to make alterations in such a manner that, to the maximum
27                     extent feasible, the altered portions of the facility are readily
28                     accessible to and usable by individuals with disabilities, including



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 1                       individuals who use wheelchairs or to ensure that, to the maximum
 2                       extent feasible, the path of travel to the altered area and the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area, are readily accessible to and usable by individuals with
 5                       disabilities where such alterations to the path or travel or the
 6                       bathrooms, telephones, and drinking fountains serving the altered
 7                       area are not disproportionate to the overall alterations in terms of cost
 8                       and scope. 42 U.S.C. § 12183(a)(2).
 9         21.    Where parking spaces are provided, accessible parking spaces shall be
10   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14   be van parking space. 2010 ADA Standards § 208.2.4.
15         22.    Under the ADA, the method and color of marking are to be addressed by
16   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17   Building Code (“CBC”), the parking space identification signs shall include the
18   International Symbol of Accessibility. Parking identification signs shall be reflectorized
19   with a minimum area of 70 square inches. Additional language or an additional sign
20   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21   parking space identification sign shall be permanently posted immediately adjacent and
22   visible from each parking space, shall be located with its centerline a maximum of 12
23   inches from the centerline of the parking space and may be posted on a wall at the
24   interior end of the parking space. See CBC § 11B-502.6, et seq.
25         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
26   each entrance to an off-street parking facility or immediately adjacent to on-site
27   accessible parking and visible from each parking space. The additional sign shall not be
28   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



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 1   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2   designated accessible spaces not displaying distinguishing placards or special license
 3   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4   See CBC § 11B-502.8, et seq.
 5         24.      Here, Defendants failed to provide the parking space identification sign with
 6   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
 7   stating “Minimum fine $250” or “Van Accessible.” Moreover, one of the posted signage
 8   was not visible due to damage.
 9         25.      Under the 1991 Standards, parking spaces and access aisles must be level
10   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
11   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
12   shall be part of an accessible route to the building or facility entrance and shall comply
13   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
14   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
15   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
16   directions. 1991 Standards § 4.6.3.
17         26.      Here, the access aisles are not level with the parking spaces. Under the 2010
18   Standards, access aisles shall be at the same level as the parking spaces they serve.
19   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
20   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
21   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. Moreover,
22   there were large cracks and broken concrete that created an uneven surface.
23         27.      A public accommodation shall maintain in operable working condition those
24   features of facilities and equipment that are required to be readily accessible to and usable
25   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
26         28.      By failing to maintain the facility to be readily accessible and usable by
27   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
28   regulations.



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 1         29.    The Business has denied and continues to deny full and equal access to
 2   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 3   discriminated against due to the lack of accessible facilities, and therefore, seeks
 4   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 5   by individuals with disabilities.
 6                                 SECOND CAUSE OF ACTION
 7                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 8         30.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
11   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
12   national origin, disability, medical condition, genetic information, marital status, sexual
13   orientation, citizenship, primary language, or immigration status are entitled to the full
14   and equal accommodations, advantages, facilities, privileges, or services in all business
15   establishments of every kind whatsoever.”
16         32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
17   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
18   for each and every offense for the actual damages, and any amount that may be
19   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
20   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
21   attorney’s fees that may be determined by the court in addition thereto, suffered by any
22   person denied the rights provided in Section 51, 51.5, or 51.6.
23         33.    California Civil Code § 51(f) specifies, “a violation of the right of any
24   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
25   shall also constitute a violation of this section.”
26         34.    The actions and omissions of Defendants alleged herein constitute a denial
27   of full and equal accommodation, advantages, facilities, privileges, or services by
28   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.



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 1   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 2   51 and 52.
 3         35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 4   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 5   damages as specified in California Civil Code §55.56(a)-(c).
 6                                 THIRD CAUSE OF ACTION
 7                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 8         36.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10         37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
11   entitled to full and equal access, as other members of the general public, to
12   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
13   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
14   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
15   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
16   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
17   places of public accommodations, amusement, or resort, and other places in which the
18   general public is invited, subject only to the conditions and limitations established by
19   law, or state or federal regulation, and applicable alike to all persons.
20         38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
21   corporation who denies or interferes with admittance to or enjoyment of public facilities
22   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
23   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
24   the actual damages, and any amount as may be determined by a jury, or a court sitting
25   without a jury, up to a maximum of three times the amount of actual damages but in no
26   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
27   determined by the court in addition thereto, suffered by any person denied the rights
28   provided in Section 54, 54.1, and 54.2.



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 1         39.    California Civil Code § 54(d) specifies, “a violation of the right of an
 2   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 3   constitute a violation of this section, and nothing in this section shall be construed to limit
 4   the access of any person in violation of that act.
 5         40.    The actions and omissions of Defendants alleged herein constitute a denial
 6   of full and equal accommodation, advantages, and facilities by physically disabled
 7   persons within the meaning of California Civil Code § 54. Defendants have
 8   discriminated against Plaintiff in violation of California Civil Code § 54.
 9         41.    The violations of the California Disabled Persons Act caused Plaintiff to
10   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
11   statutory damages as specified in California Civil Code §55.56(a)-(c).
12                                FOURTH CAUSE OF ACTION
13                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
14         42.    Plaintiff incorporates by reference each of the allegations in all prior
15   paragraphs in this complaint.
16         43.    Plaintiff and other similar physically disabled persons who require the use of
17   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
18   such facility is in compliance with the provisions of California Health & Safety Code §
19   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
20   provisions of California Health & Safety Code § 19955 et seq.
21         44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
22   that public accommodations or facilities constructed in this state with private funds
23   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
24   Title 1 of the Government Code. The code relating to such public accommodations also
25   require that “when sanitary facilities are made available for the public, clients, or
26   employees in these stations, centers, or buildings, they shall be made available for
27   persons with disabilities.
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 1          45.    Title II of the ADA holds as a “general rule” that no individual shall be
 2   discriminated against on the basis of disability in the full and equal enjoyment of goods
 3   (or use), services, facilities, privileges, and accommodations offered by any person who
 4   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 5   Further, each and every violation of the ADA also constitutes a separate and distinct
 6   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 7   award of damages and injunctive relief pursuant to California law, including but not
 8   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 9                                   FIFTH CAUSE OF ACTION
10                                         NEGLIGENCE
11          46.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13          47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
14   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
15   to the Plaintiff.
16          48.    Defendants breached their duty of care by violating the provisions of ADA,
17   Unruh Civil Rights Act and California Disabled Persons Act.
18          49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
19   has suffered damages.
20                                     PRAYER FOR RELIEF
21          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
22   Defendants as follows:
23          1.     For preliminary and permanent injunction directing Defendants to comply
24   with the Americans with Disability Act and the Unruh Civil Rights Act;
25          2.     Award of all appropriate damages, including but not limited to statutory
26   damages, general damages and treble damages in amounts, according to proof;
27          3.     Award of all reasonable restitution for Defendants’ unfair competition
28   practices;



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 1         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 2   action;
 3         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 4         6.     Such other and further relief as the Court deems just and proper.
 5                              DEMAND FOR TRIAL BY JURY
 6         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 7   demands a trial by jury on all issues so triable.
 8
 9   Dated: August 13, 2020           SO. CAL. EQUAL ACCESS GROUP
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11
12                                           By:   _/s/ Jason J. Kim___________
                                                   Jason J. Kim, Esq.
13                                           Attorneys for Plaintiff
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                                           COMPLAINT - 12
